                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                     CRIMINAL CASE NO. 1:09-cr-13

UNITED STATES OF AMERICA         )
                                 )
              vs.                )                          ORDER
                                 )
REGINALD LAMOND FIELDS           )
________________________________ )


      THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence filed pursuant to 18 U.S.C. § 3582(c)(2) and

U.S.S.G. § 1B1.10(c), Amend. 780 (Nov. 1, 2014). [Doc. 769].

      The Probation Office has submitted a supplement to the Defendant’s

Presentence Report indicating that he may be entitled to immediate

release.    Based thereon, the Court determines that the United States

Attorney should file a response to the Defendant’s Motion.

      IT IS, THEREFORE, ORDERED that no later than seven (7) days

from the entry of this Order, the United States Attorney shall file a pleading

responsive to Defendant’s Motion for Reduction of Sentence.

      IT IS SO ORDERED.

                                   Signed: March 10, 2015




   Case 1:09-cr-00013-MR-WCM     Document 771       Filed 03/10/15   Page 1 of 1
